
546 S.E.2d 391 (2000)
353 N.C. 277
STATE of North Carolina
v.
James Allen SMITH.
No. 404A00.
Supreme Court of North Carolina.
December 20, 2000.
David William Rogers, Rutherfordton.for Smith.
Donald W. Laton, Assistant Attorney General, Jeff Hunt, District Attorney, for State.
Prior report: 139 N.C.App. 209, 533 S.E.2d 518.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 20th day of December 2000."
